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 7
                                   UNITED STATES DISTRICT COURT
 8
                   NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
 9

10    PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
      themselves and all others similarly situated,
11
                                                      [PROPOSED] ORDER GRANTING
             Plaintiffs,                              PLAINTIFFS’ ADMINISTRATIVE
12
                                                      MOTION TO CONSIDER WHETHER
             v.
13                                                    ANOTHER PARTY’S MATERIAL
      GOOGLE LLC,                                     SHOULD BE SEALED
14
             Defendant.                               Referral: Hon. Susan van Keulen, USMJ
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                                                   -1-               Case No. 4:20-cv-5146-YGR-SVK
                                      [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SEAL
     Case 4:20-cv-05146-YGR         Document 721-1        Filed 06/17/22     Page 2 of 2



                                         [PROPOSED] ORDER
 1
            Before the Court is Plaintiffs’ Administrative Motion to Consider Whether Another Party’s
 2
     Material Should Be Sealed re: Plaintiffs’ Statement Pursuant to Court Order (Dkt. 698).
 3
            Having considered the Motion, supporting declaration, and other papers on file, and good
 4
     cause having been found, the Court ORDERS as follows:
 5
        Documents Sought          Court’s Ruling on           Reason(s) for Court’s Ruling
 6
            to be Sealed            Motion to Seal
 7     Exhibit A to Plaintiffs’ GRANTED as to the       Narrowly tailored to protect confidential
       Statement (Plfs’ 4th highlighted portions        technical information regarding highly
 8     30(b)(6) Notice)         at:                     sensitive features of Google’s internal
                                                        systems and operations, including details
 9                             6:1, 6:17, 6:19          related to internal projects, that Google
10                                                      maintains as confidential in the ordinary
                                                        course of its business and is not generally
11                                                      known to the public or Google’s
                                                        competitors.
12     Exhibit B to Plaintiffs’ GRANTED as to the       Narrowly tailored to protect confidential
       Statement           (re: highlighted portions    technical information regarding highly
13     Deposition of Vic at:                            sensitive features of Google’s internal
14     Liu)                                             systems and operations, including details
                                Pages 1, 3              related to internal projects, that Google
15                                                      maintains as confidential in the ordinary
                                                        course of its business and is not generally
16                                                      known to the public or Google’s
                                                        competitors.
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            IT IS SO ORDERED.
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      DATED:
22                                                     THE HONORABLE SUSAN VAN KEULEN
                                                       United States Magistrate Judge
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                                                   -2-               Case No. 4:20-cv-5146-YGR-SVK
                                      [PROPOSED] ORDER GRANTING ADMINISTRATIVE MOTION TO SEAL
